











	


             

NUMBERS

13-09-00206-CR

13-09-00207-CR


COURT OF APPEALS


THIRTEENTH DISTRICT OF TEXAS


CORPUS CHRISTI - EDINBURG 

                                                                                                                      


JAIME PEREZ, 									Appellant,


v.


THE STATE OF TEXAS, 							  Appellee.

                                                                                                                      




On appeal from the 94th District Court of 


Nueces County, Texas.

                                                                                                                       


MEMORANDUM OPINION


Before Chief Justice Valdez and Justices Yañez and Garza

Memorandum Opinion by Justice Yañez


	On May 7, 2007, in appellate cause number 13-09-00207-CR, (1) appellant, Jaime
Perez, pleaded guilty  to burglary of a habitation, a second-degree felony. (2)  The trial court
imposed a sentence of ten years' confinement, suspended the sentence, and placed
appellant on community supervision for a period of ten years. (3)  

	On the same date, in appellate cause number 13-09-00206-CR, (4) appellant pleaded
guilty to third-degree felony theft. (5)  The trial court imposed a sentence of ten years'
confinement and a $500 fine, suspended the sentence, and placed appellant on
community supervision for ten years, with the sentence to run concurrently with the
sentence in appellate cause number 13-09-00207-CR.  

	The State filed a motion to revoke appellant's community supervision in both
causes, alleging multiple violations of the terms of community supervision.  Appellant
pleaded "true" to several of the allegations.  On March 27, 2009, the trial court revoked
appellant's community supervision in both causes and sentenced appellant to ten years'
imprisonment in the Institutional Division of the Texas Department of Criminal Justice in
each cause, with the sentences to run concurrently.  The trial court certified appellant's
right to appeal in each cause, and these appeals followed.  We affirm in each case.  

I.  Anders Brief 

	Pursuant to Anders v. California, 386 U.S. 738, 744 (1967), appellant's court-appointed appellate counsel has filed a brief with this Court, stating that her review of the
record yielded no grounds or error upon which an appeal can be predicated.  Although
counsel's brief does not advance any arguable grounds of error, it does present a
professional evaluation of the record demonstrating why there are no arguable grounds to
be advanced on appeal. (6) 

	In compliance with High v. State, (7) appellant's counsel has carefully discussed why,
under controlling authority, there are no errors in the trial court's judgment.  Counsel has
informed this Court that she has:  (1) examined the record and found no arguable grounds
to advance on appeal, (2) served a copy of the brief and counsel's motion to withdraw on
appellant, and (3) informed appellant of his right to review the record and to file a pro se
response. (8)  More than an adequate period of time has passed, and appellant has not filed
a pro se response. (9)   II. Independent Review


	Upon receiving an Anders brief, we must conduct a full examination of all the
proceedings to determine whether the case is wholly frivolous. (10)  We have reviewed the
entire record and counsel's brief and have found nothing that would arguably support an
appeal. (11)  Accordingly, we affirm the judgments of the trial court in each case.

III. Motion to Withdraw


	In accordance with Anders, appellant's attorney has asked this Court for permission
to withdraw as counsel for appellant. (12)  We grant counsel's motions to withdraw.  

	Within five days of the date of this Court's opinion, counsel is ordered to send a
copy of the opinion and judgment to appellant and to advise appellant of his right to file a
petition for discretionary review. (13)




Do not publish.					

See Tex. R. App. P. 47.2(b).

Delivered and filed the

19th day of August, 2010.

1.  The trial court cause number was 07-CR-0794-C.
2.  See Tex. Penal Code Ann. § 12.33 (Vernon Supp. 2009); § 30.02 (Vernon 2003).
3.  See Tex. Code Crim. Proc. Ann. art. 42.12, § 3 (Vernon Supp. 2009). 
4.  The trial court cause number was 06-CR-1701-C. 
5.  See Tex. Penal Code Ann. § 31.03 (Vernon Supp. 2009). 
6.  See In re Schulman, 252 S.W.3d 403, 407 n.9 (Tex. Crim. App. 2008) ("In Texas, an Anders brief
need not specifically advance 'arguable' points of error if counsel finds none, but it must provide record
references to the facts and procedural history and set out pertinent legal authorities.") (citing Hawkins v. State,
112 S.W.3d 340, 343-44 (Tex. App.-Corpus Christi 2003, no pet.)); Stafford v. State, 813 S.W.2d 503, 510
n.3 (Tex. Crim. App. 1991).  
7.  High v. State, 573 S.W.2d 807, 813 (Tex. Crim. App. [Panel Op.] 1978).  
8.  See Anders, 386 U.S. at 744; Stafford, 813 S.W.2d at 510 n.3; see also In re Schulman, 252 S.W.3d
at 409 n.23.  The Texas Court of Criminal Appeals has held that "the pro se response need not comply with
the rules of appellate procedure in order to be considered.  Rather, the response should identify for the court
those issues which the indigent appellant believes the court should consider in deciding whether the case
presents any meritorious issues."  In re Schulman, 252 S.W.3d at 409 n.23 (quoting Wilson v. State, 955
S.W.2d 693, 696-97 (Tex. App.-Waco 1997, no pet.)). 
9.  See id.  
10.  Penson v. Ohio, 488 U.S. 75, 80 (1988). 
11.  See Bledsoe v. State, 178 S.W.3d 824, 826-28 (Tex. Crim. App. 2005) ("Due to the nature of
Anders briefs, by indicating in the opinion that it considered the issues raised in the briefs and reviewed the
record for reversible error but found none, the court of appeals met the requirement of Texas Rule of
Appellate Procedure 47.1."); Stafford, 813 S.W.2d at 509. 
12.  See Anders, 386 U.S. at 744; see also In re Schulman, 252 S.W.3d at 408 n.17 (citing Jeffery v.
State, 903 S.W.2d 776, 779-80 (Tex. App.-Dallas 1995, no pet.) (noting that "[i]f an attorney believes the
appeal is frivolous, he must withdraw from representing the appellant.  To withdraw from representation, the
appointed attorney must file a motion to withdraw accompanied by a brief showing the appellate court that the
appeal is frivolous.") (citations omitted)).  
13.  See Tex. R. App. P. 48.4; see also In re Schulman, 252 S.W.3d at 412 n.35; Ex parte Owens, 206
S.W.3d 670, 673 (Tex. Crim. App. 2006).  No substitute counsel will be appointed.  Should appellant wish to
seek further review of this case by the Texas Court of Criminal Appeals, he must either retain an attorney to
file a petition for discretionary review or file a pro se petition for discretionary review.  Any petition for
discretionary review must be filed within thirty days from the date of either this opinion or the last timely motion
for rehearing that was overruled by this Court.  See Tex. R. App. P. 68.2.  Any petition for discretionary review
must be filed with this Court, after which it will be forwarded to the Texas Court of Criminal Appeals.  See Tex.
R. App. P. 68.3; 68.7.  Any petition for discretionary review should comply with the requirements of Rule 68.4
of the Texas Rules of Appellate Procedure.  See Tex. R. App. P. 68.4.		

